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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    v.                                                       No. 1:21-cr-618-ABJ

    RILEY JUNE WILLIAMS


                      PROFFER REGARDING AGENT TESTIMONY

         Pursuant to the Court’s directive at the pretrial conference on November 3, 2022, and

Minute Order of November 4, 2022, the United States of America submits the following proffer

regarding the anticipated trial testimony of FBI agent(s) concerning Nick Fuentes, the “America

First” podcast, and Groypers. 1 This anticipated testimony will be likely be paired with additional

testimony from non-government individuals regarding these topics.

            a. During the course of their responsibilities and duties, including as part of this

                investigation, the testifying FBI agent became familiar with Nick Fuentes and the

                “America First” or “Groyper” movement. This included watching video footage of

                the podcasts and speeches made by Nick Fuentes in late 2020 and early 2021,

                including those saved on the defendant’s iCloud account;

            b. Nick Fuentes is a public speaker and provocateur who hosts online podcasts under

                the name “America First;”

            c. The followers of Nick Fuentes and his “America First” show are commonly

                referred to as “Groypers” or the “Groyper Army;”




1
  At present, the government does not intend to elicit testimony or offer other evidence at trial
regarding the defendant’s following and adoption of Accelerationism.
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 d. The commonly used symbol or avatar for “Groypers” and the “Groyper Army” is a

    green frog- or toad-like creature, which is associated with Pepe the Frog, a symbol

    commonly used by alt-right groups and individuals;

 e. The defendant used and adopted the “Groyper” symbol and avatar in her online

    conversations, took a photograph with Nick Fuentes on December 12, 2020, and

    wore an “I’m with Groyper” shirt to the U.S. Capitol on January 6, 2021. She also

    downloaded clips from numerous “America First” podcasts hosted by Nick Fuentes

    onto her iCloud account prior to January 6, 2021;

 f. Following the November 2020 presidential election, and leading up to January 6,

    2021, one of the primary messages of Nick Fuentes and his “Groypers” was that

    the 2020 presidential election was stolen and illegitimate;

 g. Nick Fuentes attended and spoke at a “Stop the Steal” rally in Harrisburg, PA on

    December 5, 2020, and also the “Million MAGA” rally in Washington, D.C. on

    December 12, 2020, which was organized as a protest of the presidential election

    results;

 h. On January 6, 2021, Nick Fuentes encouraged his followers to continue occupying

    the U.S. Capitol until the election results were overturned.




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       As discussed at the November 3, 2022, final pre-trial conference and in the government’s

reply in support of the Rule 404(b) Notice, all of the above proffered points are facts learned by

the FBI agent(s) in the course of their duties and investigation, and are derived from Nick Fuentes’

publicly available statements and and online spaces associated with him and the “Groypers.” The

FBI agent(s) did not need to apply specialized skills or knowledge to learn or understand these

facts. They only needed time. None of the above statements are opinions.



       Dated November 7, 2022.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481 052


                                              /s/ Michael M. Gordon
                                              MICHAEL M. GORDON
                                              Assistant United States Attorney
                                              Florida State Bar No. 1026025
                                              400 N. Tampa St., Suite 3200
                                              Tampa, Florida 33602
                                              michael.gordon3@usdoj.gov
                                              Telephone: 813-274-6370


                                              /s/ Samuel S. Dalke______
                                              SAMUEL S. DALKE
                                              Assistant United States Attorney
                                              Pennsylvania State Bar No. 311083
                                              228 Walnut Street, Suite 220
                                              Harrisburg, PA 17101
                                              samuel.s.dalke@usdoj.gov
                                              Telephone: 717-221-4453




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